Case 2:13-cv-07726-CBM-AJW Document 139 Filed 09/15/15 Page 1 of 8 Page ID #:1226



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     8                         UNITED STATES DISTRICT COURT
     9                       CENTRAL DISTRICT OF CALIFORNIA
    10

    11
         HILDA VASQUEZ, etc., et al.,              CASE NO. CV 13-07726 CBM (AJWx)
    12
                            Plaintiffs,            DEFENDANTS [PROPOSED]
    13
               v.                                  SUPPLEMENTAL COURT VOIR
    14                                             DIRE
         CITY OF SANTA PAULA, et al.,
    15                                             Trial Date: September 22, 2015
                            Defendants.
    16

    17

    18          Defendant, Hector Ramirez’s request that the following questions be asked of
    19 potential jurors during voir dire pursuant to Rule 47(a) of the Federal Rules of Civil
    20 Procedure, to the extent these topics and questions are not covered by the Court’s

    21 customary voir dire or a Juror Questionnaire. Defense Counsel request that follow-up

    22 questions to seek explanation for any “Yes” responses to the questions below be

    23 handled at sidebar, as appropriate.      Defense Counsel also request leave to orally
    24 tender supplemental questions as may be necessitated by the answers of prospective

    25 jurors in oral voir dire.

    26 / / /

    27 / / /

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                                                             Case 2:13-cv-07726-CBM-AJW Document 139 Filed 09/15/15 Page 2 of 8 Page ID #:1227



                                                                                  1 I.     FAMILIARITY         WITH       CASE,      PARTIES,       ATTORNEYS,          AND
                                                                                  2        POTENTIAL WITNESSES
                                                                                  3        1.    [After introductions of court staff and attorneys:]
                                                                                  4              Do you, or someone close to you, know any of the court staff, lawyers,
                                                                                  5              or law firms in this case?
                                                                                  6        2.    [After reading list of parties and potential witnesses in the case.]
                                                                                  7              Do you, or someone close to you, have any experience or association
                                                                                  8              with any of the parties or potential witnesses in this case?
                                                                                  9              a.     Do you or someone close to you have any experience or
                                                                                 10                     association with the City of Santa Paula or the Santa Paula Police
                                                                                 11                     Department? Please explain.
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                                                                                 12        3.    Prior to arriving in the courtroom today, had you heard or read anything
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                                                                                 13              about this case? Because of what you have read or heard, do you have
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                                                                                 14              any opinions about this case?
                                                                                 15 II.    INDIVIDUAL BACKGROUND QUESTIONS
                                                                                 16 (Have each prospective juror, beginning with the first called, stand and answer:)

                                                                                 17        4.    Please state your name and the name of the community or neighborhood
                                                                                 18              where you live.
                                                                                 19        5.    What is the highest level of education you have completed, including any
                                                                                 20              licenses, certificates, or degrees? If you attended college, what was your
                                                                                 21              major area of study and what degrees, if any, did you obtain?
                                                                                 22        6.    Describe your current job and employer?
                                                                                 23              a.     If you are not working outside the home, what was your last job
                                                                                 24                     and employer, and what do you do now? For example, are you a
                                                                                 25                     student (Where do you attend school and what are you studying?),
                                                                                 26                     a homemaker, retired (If you are retired, what was your last
                                                                                 27                     occupation and employer?), disabled, or currently unemployed and
                                                                                 28                     looking for work (If you are looking for work, what type of work
                                                                                                                                 2
                                                             Case 2:13-cv-07726-CBM-AJW Document 139 Filed 09/15/15 Page 3 of 8 Page ID #:1228



                                                                                  1               are you seeking?)?
                                                                                  2         b.    If your current occupation is different what you’ve done for the
                                                                                  3               majority of your professional life, what has been your primary
                                                                                  4               occupation?
                                                                                  5   7.    If you are married or living with a partner, what is his or her current job
                                                                                  6         and employer? If not working, what does he or she do now and what did
                                                                                  7         he or she do before?
                                                                                  8   8.    If you have any children, what are their ages, and what are the
                                                                                  9         occupations of your adult children?
                                                                                 10   9.    Describe the occupations and employers of anyone else living in your
                                                                                 11         household.
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                                                                                 12   10.   Have you previously served as a juror?
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                                                                                 13         a.    If yes, how many times and when, if you recall?
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                                                                                 14         b.    Civil, criminal, or both?     What was the type of case?         (e.g.,
                                                                                 15               contract dispute, personal injury, etc.)
                                                                                 16         c.    Were you ever the foreperson?
                                                                                 17         d.    Did the jury reach a decision in every case?
                                                                                 18         e.    Did you enjoy your experience as a juror? If not, explain.
                                                                                 19   11.   Have you or someone in your family ever been involved in a lawsuit
                                                                                 20         (other than in a divorce)?
                                                                                 21         a.    As the plaintiff, the defendant, a witness, or something else?
                                                                                 22         b.    What kind of case was it? What were the circumstances?
                                                                                 23         c.    When did this occur?
                                                                                 24         d.    Were you or he/she deposed?
                                                                                 25         e.    Was there a trial?
                                                                                 26         f.    What was the outcome of the case?
                                                                                 27         g.    How did this experience affect your opinion of the legal system?
                                                                                 28   12.   What social, civic, charitable, trade, or other organizations do you belong
                                                                                                                          3
                                                             Case 2:13-cv-07726-CBM-AJW Document 139 Filed 09/15/15 Page 4 of 8 Page ID #:1229



                                                                                  1              to?
                                                                                  2        13.   Have you ever held a formal leadership role or position at work, in an
                                                                                  3              organization, or in a union? If yes, explain.
                                                                                  4 III.   LAW AND LAW ENFORCEMENT
                                                                                  5        14.   Do you or anyone close to you have any experience, training, or special
                                                                                  6              knowledge in the legal field, studying law, or working in law, any legal
                                                                                  7              field, or the courts? If so, describe.
                                                                                  8              a.    Do you or someone close to you have any association with any
                                                                                  9                    attorney who represents or works on behalf of plaintiffs in
                                                                                 10                    personal injury lawsuits?
                                                                                 11        15.   Do you know any lawyers, judges, or people who work in the courts? If
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                                                                                 12              yes, who do you know and how do you know them?
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                                                                                 13        16.   Have you, or has someone close to you, ever been an expert or a
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                                                                                 14              consultant in a legal case of any kind?
                                                                                 15        17.   Have you or anyone close to you ever had any negative experience with
                                                                                 16              the justice system, including, but not limited to prosecutors, defense
                                                                                 17              attorneys, and judges? Do you believe that any negative feelings you
                                                                                 18              have about the justice system would affect your ability to be a fair and
                                                                                 19              impartial juror in this case?
                                                                                 20        18.   Do you or anyone close to you have any experience, training, or special
                                                                                 21              knowledge in forensic sciences, medicine, or nursing?
                                                                                 22        19.   Do you or anyone close to you have any experience, training, or special
                                                                                 23              knowledge in psychology, mental health, or counseling?
                                                                                 24        20.   Have you or anyone close to you ever had experience, training, or special
                                                                                 25              knowledge in law enforcement?            If so, please describe the type of
                                                                                 26              knowledge or training, and where it was acquired. Is there anything
                                                                                 27              about your knowledge or training (or that of someone close) that you
                                                                                 28              believe would affect your ability to be fair and impartial juror in this
                                                                                                                                 4
                                                             Case 2:13-cv-07726-CBM-AJW Document 139 Filed 09/15/15 Page 5 of 8 Page ID #:1230



                                                                                  1         case?
                                                                                  2   21.   Have you or anyone close to you ever worked in law enforcement? If so,
                                                                                  3         what agency did you or they work for (e.g. a police department, sheriff’s
                                                                                  4         department, California Highway Patrol, Department of Corrections, etc.).
                                                                                  5   22.   Do you enjoy watching television programs or movies involving the
                                                                                  6         police, crime, or justice?
                                                                                  7   23.   Have you or anyone close ever had a negative experience with the City
                                                                                  8         of Santa Paula or any of its agencies? If yes [side bar], please describe
                                                                                  9         those experiences and with agency they were involved. Is it possible that
                                                                                 10         those experiences could affect you if you are selected to be a juror in this
                                                                                 11         case?
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                                                                                 12   24.   Have you or anyone close to you had any personal contact with the Santa
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                                                                                 13         Paula Police Department or any of its officers? If so, please describe the
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                                                                                 14         conduct of the officers with whom you had contact. Do you think that
                                                                                 15         experience might affect your ability to be a completely fair and impartial
                                                                                 16         juror in this case?
                                                                                 17   25.   Have you or anyone close to you ever been treated in an unfair manner
                                                                                 18         or injured by a law enforcement officer or agency? [side bar] Please
                                                                                 19         describe the circumstances. Do you believe that this experience could
                                                                                 20         affect your ability to be a completely fair and impartial juror in this case?
                                                                                 21   26.   Do you have a negative opinion of police officers? If so [side bar],
                                                                                 22         please explain.
                                                                                 23   27.   Have you or anyone close ever considered filing or actually filed a
                                                                                 24         complaint against a law enforcement agency or officer? If so [side bar],
                                                                                 25         please describe the circumstances? Was the outcome of the lawsuit or
                                                                                 26         complaint satisfactory for you?
                                                                                 27   28.   Have you or anyone close to you ever been detained, suspected or
                                                                                 28         accused of a crime, or arrested by any law enforcement agency? If so
                                                                                                                           5
                                                             Case 2:13-cv-07726-CBM-AJW Document 139 Filed 09/15/15 Page 6 of 8 Page ID #:1231



                                                                                  1         [side bar], when and where did the arrest/detention occur? What law
                                                                                  2         enforcement agency or agencies were involved? In your view, did the
                                                                                  3         officers handle the matter properly or improperly?             What was the
                                                                                  4         outcome of the arrest/detention? Is there anything about that experience
                                                                                  5         that you believe will affect your ability to be a completely fair and
                                                                                  6         impartial juror in this case?
                                                                                  7   29.   Have you or anyone close ever been investigated, charged with, or
                                                                                  8         convicted of any criminal offense? If so [side bar], please describe the
                                                                                  9         circumstances. Do you feel that law enforcement and the court system
                                                                                 10         handled the matter properly or improperly?
                                                                                 11   30.   Have you or anyone close ever been a victim of, or witness to, a crime,
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                                                                                 12         whether it was reported to law enforcement or not? [Offer side bar.] Do
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                                                                                 13         you feel law enforcement handled the matter properly or improperly?
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                                                                                 14   31.   Do you or someone close to you know anyone who is a member of a
                                                                                 15         gang? [Side bar.] If yes, explain.
                                                                                 16   32.   Do you believe that when police officers testify they are more or less
                                                                                 17         truthful/accurate/credible than that of a civilians? Raise your hand if you
                                                                                 18         believe a police officer is likely to be more truthful. Raise your hand if
                                                                                 19         you believe a police officer is likely to be less truthful.
                                                                                 20   33.   Have you watched or followed any of the news concerning events that
                                                                                 21         have put some police officers in an unfavorable or negative light,
                                                                                 22         including, but not limited to, using excessive force against an individual
                                                                                 23         or the death of someone while in police custody? [Offer side bar.] If so,
                                                                                 24         what have you heard or read? Would such reports affect your ability to
                                                                                 25         be an entirely fair and impartial juror in this case, even a little bit?
                                                                                 26         a.     [Side bar.] Has your opinion of the police or law enforcement
                                                                                 27                changed as a result of the deaths of Michael Brown, Freddie Gray,
                                                                                 28                or others?
                                                                                                                            6
                                                             Case 2:13-cv-07726-CBM-AJW Document 139 Filed 09/15/15 Page 7 of 8 Page ID #:1232



                                                                                  1       34.   Do you have any bias, even a small one, against police or law
                                                                                  2             enforcement officers? [Side bar.] If yes, explain.
                                                                                  3       35.   Raise your hand if you do not trust police officers to use the right amount
                                                                                  4             of force when arresting a suspect.
                                                                                  5       36.   Is there any reason that you would not be an entirely fair and impartial
                                                                                  6             juror in a case involving a suspect who died as a result of the force used
                                                                                  7             by a police officer? [Side bar.] If yes, explain.
                                                                                  8       37.   Have you or anyone close ever owned a firearm? If so, please tell us the
                                                                                  9             type of firearm. Do you own it today?
                                                                                 10       38.   I will explain the law to you in greater detail later on, but the way our
                                                                                 11             system of justice works in civil cases is that the Plaintiff has the burden
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                                                                                 12             of proof. Does anyone disagree with this rule? Is there anyone who
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                                                                                 13             would be unwilling or unable to follow the law about the burden of proof
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                                                                                 14             being on the Plaintiff from the start of the trial through the end of the
                                                                                 15             trial?
                                                                                 16       39.   Do you generally assume that a lawsuit must be valid if it makes it to
                                                                                 17             trial?
                                                                                 18       40.   Do you believe that the Plaintiff should receive money damages or
                                                                                 19             recover something because they filed a lawsuit?
                                                                                 20             a.       Will you promise to base your decision only on credible evidence
                                                                                 21                      that is presented to you in this courtroom, and to wait until the
                                                                                 22                      very end of the trial after you’ve heard from both sides before
                                                                                 23                      making up your mind?
                                                                                 24 IV.   FINAL QUESTIONS
                                                                                 25       41.   Did you know or recognize anyone else in the jury pool before coming
                                                                                 26             here today?      If so, how do you know each other, and will your
                                                                                 27             relationship affect you if you both end up on the jury?
                                                                                 28       42.   Do you have any opinions about the justice system that could interfere
                                                                                                                                7
                                                             Case 2:13-cv-07726-CBM-AJW Document 139 Filed 09/15/15 Page 8 of 8 Page ID #:1233



                                                                                  1            with your ability to serve as a juror?
                                                                                  2            a.    Will you follow the law and instructions that I give you, regardless
                                                                                  3                  of whether you agree with them?
                                                                                  4      43.   If you are selected as juror, will you listen to the views of other jurors
                                                                                  5            and work cooperatively with other jurors in order to reach a verdict?
                                                                                  6      44.   You are prohibited from doing any independent investigation or research
                                                                                  7            whatsoever regarding this case, the parties in this case, the subject matter
                                                                                  8            involved in this case, or the attorneys involved in this case. Do not do
                                                                                  9            any internet searches (Google, etc.) or communicate on the Internet
                                                                                 10            regarding any person, company, or topic in any way involved in this
                                                                                 11            case. To do so compromises the fairness of the trial and violates your
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                                                                                 12            oath as a juror. If selected as a juror, this prohibition will extend through
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                                                                                 13            the end of your jury service in this case. Do you understand this court
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                                                                                 14            order? Will you follow this order? Is there anyone who thinks it might
                                                                                 15            be difficult to avoid researching something about the case?
                                                                                 16      45.   Is there anything that makes you doubt that you would be completely
                                                                                 17            fair, impartial, and unbiased in this case? If there is, it is your duty to tell
                                                                                 18            me at this time.
                                                                                 19      46.   Is there anything else the court should know that might affect your
                                                                                 20            ability to serve as a juror?
                                                                                 21 DATED: September 15, 2015           WISOTSKY, PROCTER & SHYER
                                                                                 22
                                                                                                                        By:
                                                                                 23                                           James N. Procter II
                                                                                                                              T.J. Stephens
                                                                                 24                                           Attorneys for Defendant,
                                                                                                                              HECTOR RAMIREZ
                                                                                 25

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